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                                 No. 24-40671

         In the United States Court of Appeals
                 for the Fifth Circuit
In re Oscar Silva Perez; Natalie Taylor; Coalition for
 Humane Immigrant Rights; Justin Doe; Salvador Doe;
 Cindy Maduena; Jessika Ocampo Hernandez; Ricardo
  Ocampo Hernandez; Genaro Palomino; Foday Turay;
          Jaxhiel Turay; and Carmen Zayas,
                            Petitioners.

                     On Petition for Writ of Mandamus
                     to the United States District Court
              for the Eastern District of Texas, Tyler Division

     STATE RESPONDENTS’ OPPOSITION TO
PETITIONERS’ EMERGENCY MOTION FOR STAY OF
   DISTRICT COURT’S ADMINISTRATIVE STAY

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            Certificate of Interested Persons
                         No. 24-40671
  In re Oscar Silva Perez; Natalie Taylor; Coalition for
   Humane Immigrant Rights; Justin Doe; Salvador Doe;
   Cindy Maduena; Jessika Ocampo Hernandez; Ricardo
    Ocampo Hernandez; Genaro Palomino; Foday Turay;
            Jaxhiel Turay; and Carmen Zayas,
                                Petitioners.


    Under the fourth sentence of Fifth Circuit Rule 28.2.1, State Respondents (the
States of Texas, Alabama, Arkansas, Florida, Georgia, Idaho, Iowa, Kansas,

Louisiana, Missouri, North Dakota, Ohio, South Carolina, South Dakota,
Tennessee, and Wyoming), as governmental parties, need not furnish a certificate of
interested persons.

                                       /s/ Aaron L. Nielson
                                       Aaron L. Nielson
                                       Counsel of Record for State Respondents




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                                Introduction
    Petitioners’ motion gives short shrift to a critical fact: The district court denied

their motion to intervene in the underlying litigation more than a month ago, and this
Court affirmed that decision just over a week ago. See Texas v. DHS, No. 24-40571,
2024 WL 4404421 (5th Cir. Oct. 4, 2024). Petitioners have not sought rehearing of

this Court’s decision—even though the mandate has not issued. Instead, they opted
to initiate a separate mandamus proceeding and to file the instant emergency motion
for a stay. Worse yet, their lead counsels’ notices of appearance state:




    By any measure, Petitioners’ latest pleadings are at least “related” to their pre-
vious unsuccessful appeal in No. 24-40571. And if Petitioners had a valid argument
for mandamus or emergency relief, they would have asked for it (likely weeks ago)
from the panel of this Court that resolved their first appeal and which is already inti-
mately familiar with this litigation. That they did not do so speaks volumes.
    Nor do Petitioners address why this Court affirmed the district court’s “well-

reasoned and comprehensive” decision holding that they are not entitled to inter-
vene. Texas, 2024 WL 4404421 at *1. The district court concluded that the federal
government will adequately represent their interests, and after “review[ing] the ex-
tensive briefing, the record, and the applicable law,” this Court agreed. Id. That the
federal government does not seek emergency relief—indeed, has not even objected
to the order Petitioners ask this Court to stay—also speaks volumes.
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    Petitioners’ arguments also disregard that much of the delay they complain
about would not have happened had they not filed a meritless appeal of the denial of

intervention. This case was racing toward a September 18, 2024 hearing in the dis-
trict court, with a final judgment soon thereafter. Not content to participate as amici
in those expedited proceedings, however, Petitioners insisted that this Court should

reverse the district court’s intervention ruling. The Court thus ordered expedited
briefing and entered its own administrative stay, and then affirmed the district
court’s “well-reasoned and comprehensive Opinion and Order.” Texas, 2024 WL

4404421 at *1. If Petitioners had not appealed, the district court’s proceedings would
likely already be done. It is therefore entirely out of bounds for Petitioners to impugn
the integrity of the district judge (at 3 n.4, 5) without a shred of evidence and accuse

him of undermining “the public legitimacy of the federal judiciary and its ability and
willingness to dispense justice in an evenhanded manner.” See also Pet. 35-36.
    Finally, Petitioners’ pleadings ignore the many cases that the States briefed to
this Court two weeks ago holding that federal courts enjoy inherent and statutory
power to issue administrative stays. See No. 24-40571, ECF 103; see also United States
v. Texas, 144 S.Ct. 797, 798 n.1 (2024) (Barrett, J., concurring in denial of applica-
tions to vacate stay). Here, however, the district court did not simply enter an ad-
ministrative stay—though that would have been sufficient—but also a temporary re-
straining order (“TRO”) and stay under §705 of the Administrative Procedure Act
(“APA”). Petitioners’ failure to meaningfully address any of these authorities con-
firms that neither mandamus nor an emergency stay is warranted. And if there were
any doubt, the remaining factors also uniformly cut against Petitioners.

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                                  Background

    A. The States’ challenge to the PIP program.
    This litigation arises out of a challenge by a coalition of States to the Biden-Har-
ris Administration’s Parole-in-Place program (“PIP program”), which purports to
create a pathway to legal status for over 1.3 million aliens who have been unlawfully

in the country for ten years or more. See Implementation of Keeping Families To-
gether, 89 Fed. Reg. 67,459 (Aug. 20, 2024). Because Congress has not authorized
the PIP program, see 8 U.S.C. §§1182(a)(9)(B)(i)(II), 1255(i), and certainly not
en masse, see id. §1182(d)(5)(A) (requiring “case-by-case” review), the States sued
the Department of Homeland Security (“DHS”) on August 23. ROA.29-30.1 The
same day they filed their complaint, the States sought a temporary restraining order,
preliminary injunction, or stay of the rule. ROA.96-161.

    B. The district court’s expedited proceedings.
    On August 26, Judge J. Campbell Barker—the district judge here—invoked the
All Writs Act, 28 U.S.C. §1651(a), and the court’s “inherent authority to manage its
docket” to issue a 14-day administrative stay of the PIP program under which DHS
was permitted to continue accepting applications but was prohibited from approving
new applications or granting parole. ROA.527-32.
    The court explained that it “ha[d] undertaken a first-blush review of the merits

of plaintiffs’ standing and cause of action in light of the evidence submitted with their


    1
     Given the expedited nature of Petitioners’ motion and the overlap between the
two appeals, this factual recitation draws from the States’ briefing filed in No. 24-
40571, and all ROA cites are to the record from that related appeal.

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motion for a TRO and a stay,” and concluded “[t]he claims are substantial and war-
rant closer consideration than the court has been able to afford to date.” ROA.529.

But it did not “express any ultimate conclusions about the success or likely success
of those claims.” ROA.530. Instead, preventing DHS “from granting parole under
the rule’s process for a short time,” ROA.531, served to “preserv[e] its jurisdiction

to enter complete relief for plaintiffs should their lawsuit ultimately prove meritori-
ous.” ROA.530. This was necessary, the court found, because it could “not pres-
ently perceive how to practicably unwind parole once issued.” ROA.531.

    Because DHS’s “mere acceptance of applications” would not “pose the same
practical risks of irreversibility,” however, the court specified that its stay “does not
apply to the agency’s creation of a process for seeking parole in place under the rule,

as opposed to the granting of parole in place under the rule.” ROA.531. Recognizing
the need for promptness, the court also set an expedited schedule, requiring the ad-
ministrative record to be completed by September 9, discovery by September 16, and
dispositive motions by October 10, ROA.532-35.
    Eight days later, the federal government filed a nearly 60-page motion asking the
district court to vacate its stay. ROA.633-91. The court refused, first outlining the
legal authority for its stay, ROA.734-35, then holding that nothing in the motion “sig-
nificantly change[s] the court’s conclusion about the equities bearing on the need to
preserve the status quo ante for a short period,” ROA.736. The court reiterated that
“an unlawful grant of parole” would be “very difficult to unwind after the fact given
the immediate incurring of reliance interests after parole is granted.” ROA.736. In
contrast, “the burden to the government of a relatively short restraint on issuing

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parole under the rule” was “much smaller” because “[a]pplications for parole un-
der the rule can, with minimal administrative disruption, be processed as usual and

held for approval, which can then proceed if the government prevails after the up-
coming hearing on the facts and the law.” ROA.736. Likewise, the burden of a stay
of the program on beneficiaries of the PIP program was slight given they “must have

been continuously present in this country without admission or parole for ten years,”
and a further restraint on parole for a few weeks “is much shorter than the potential”
alternative of “three- or ten-year periods of waiting abroad.” ROA.736.

    “The rigor of defendants’. . . 60-page filing,” however, “convince[d] the court
that a hearing on the facts and the law [could] be scheduled on an even more accel-
erated schedule,” so the district court issued a revised scheduling order setting even

tighter deadlines, including setting the close of discovery for September 11, disposi-
tive motions for September 13, responses to the dispositive motions on Septem-
ber 16, and a bench trial for September 18. ROA.737-38. The court also extended its
“temporary stay and restraining order for an additional 14-day period, such that it
[was to] expire[] at the end of September 23, 2024”—enough time to complete trial
and, presumably, for the court to issue a decision. ROA.737. Thus, the court con-
cluded that “[g]iven the alignment of the equities at this point, plaintiffs’ likelihood
of success on the merits is substantial enough to justify a §705 stay and temporary
restraining order limiting parole issuance under the rule.” ROA.736.

    C. Petitioners’ intervention motion and expedited appeal.
    While the parties were litigating the propriety of the district court’s administra-
tive stay, Petitioners moved to intervene as defendants. ROA.253-76. The district

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court denied the motion because Petitioners and the federal government shared the
same “ultimate objective” of preserving the PIP program, meaning the federal gov-

ernment could adequately represent Petitioners’ interests in this litigation.
ROA.697-700. The court allowed Petitioners to participate as amici, however, which
Petitioners took advantage of by filing an amicus brief in support of the federal gov-

ernment’s motion to vacate the administrative stay. ROA.706-31.
    Nevertheless, Petitioners appealed the district court’s denial of their interven-
tion motion. ROA.703. This Court set an aggressive schedule under which the entire

appeal would be briefed in less than 10 days and issued its own administrative stay
“pending further order of this court.” No. 24-40571, ECF 68 at 2.

    D. Petitioners’ challenge to this Court’s administrative stay.
    Following expedited briefing on the question of intervention, the federal govern-
ment and Petitioners moved this Court to vacate its administrative stay, arguing that
it was not authorized by law. In response, the States explained why such power exists
and was appropriately exercised. See No. 24-40571, ECF 103.
    On October 4, 2024, a panel of this Court determined—unanimously—that the
district court properly denied Petitioners’ intervention motion. Texas, 2024 WL

4404421 at *1. The Court also vacated its administrative stay. Id. Accordingly, to
ensure that DHS does not irreparably harm the States by granting parole before ju-
dicial review is possible, the district court promptly reinstated its “temporary stay




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and restraining order” until November 8, 2024. Pet. Ex. 4 at 3.2 The district court
also ordered the parties to engage in an aggressive pre-trial briefing schedule and

scheduled a factual hearing (with a potential bench trial) for November 5. Id. at 2-3.
The federal government has not objected to that order. The district court also invited
Petitioners to file an amicus brief of up to 45 pages by October 25. Id. at 2.

                                    Argument
    Petitioners concede that the traditional stay factors govern their emergency mo-
tion, namely “(1) whether the stay applicant has made a strong showing that he is
likely to succeed on the merits; (2) whether [he] will be irreparably injured absent a
stay; (3) whether issuance of the stay will substantially injure … other parties …; and
(4) where the public interest lies.” Mot.6 (quoting Texas v. United States, 787 F.3d
733, 746-47 (5th Cir. 2015)). None of those factors supports Petitioners.

I. Petitioners Are Unlikely to Succeed on the Merits.
    A. Petitioners lack standing to seek emergency relief.
    Petitioners’ motion fails at the outset because they have no right to be here. After
being denied intervention because the federal government will adequately represent
their interests, Petitioners—as nonparties—cannot advance litigation positions that
the federal government has declined to pursue. Otherwise, party status would be




    2
      Because this Court’s vacatur of its administrative stay is part of the Court’s
opinion (which remains subject to petitions for rehearing), it is the States’ under-
standing that absent further order of the Court, this Court’s administrative stay of
any parole grants remains in place until the Court’s mandate issues.

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irrelevant. Petitioners’ motion thus is little more than a direct challenge to this
Court’s affirmance of the district court’s denial of intervention.

    Just over a week ago, this Court affirmed the conclusion that Petitioners are not
entitled to intervene as parties because the federal government shares the same ulti-
mate objective: Preserving the PIP program. Texas, 2024 WL 4404421 at *1. The

federal government is thus solely responsible for the program’s defense because, un-
der this Court’s precedent, “differences of opinion regarding an existing party’s lit-
igation strategy or tactics … without more does not raise to adversity of interest.”

Guenther v. BP Ret. Plan, 50 F.4th 536, 543 (5th Cir. 2022); see also SEC v. LBRY,
Inc., 26 F.4th 96, 99-100 (1st Cir. 2022).
    Nonetheless, Petitioners—but not the federal government—challenge the dis-

trict court’s October 4 decision to issue a TRO and temporary stay. If Petitioners
could do this, this Court’s holding that the federal government is the proper defend-
ant would be meaningless. Litigation would also be unmanageable, as nonparties
could rush to this Court using mandamus—coupled with motions for emergency re-
lief—to challenge case-management decisions. No district court could manage a
case, and restrictions on interlocutory appeals would be pointless.
    Unsurprisingly, Petitioners’ view is not the law. As a rule, “one who is not a
party to a lawsuit, or has not properly become a party, has no right to appeal a judg-
ment entered in that suit.” Edwards v. City of Houston, 78 F.3d 983, 993 (5th Cir.
1996) (en banc). The exception to that rule is narrow. A nonparty must (1) have “ac-
tually participated in the proceedings,” (2) be supported by “‘the equities,’” and
(3) “‘have a personal stake in the outcome.’” La Union del Pueblo Entero v. Abbott,

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93 F.4th 310, 315 (5th Cir. 2024) (quoting Castillo v. Cameron Cnty., 238 F.3d 339,
350 (5th Cir. 2001)).

    Petitioners cannot satisfy either of the first two requirements. As to the first, the
district court concluded that Petitioners have no right to be parties in this case, and
this Court affirmed. A meritless intervention motion at the threshold of a case is not

sufficient participation to allow a nonparty to seek emergency relief from this Court.
Instead, courts have “recognized repeatedly that, until a movant for intervention is
made a party to an action, it cannot appeal any orders entered in the case other than

an order denying intervention.” Ali v. City of Chicago, 34 F.4th 594, 596 (7th Cir.
2022) (quotation omitted). As to the second requirement, it is extraordinarily ineq-
uitable for Petitioners to appeal the denial of intervention, lose that appeal, and then

act as if this Court’s decision is irrelevant. And it is even more inequitable to impugn
the integrity of a federal judge while doing so. See Pet.35-36; Mot.3 n.4, 5.
    To be sure, Petitioners do not appeal the district court’s October 4 order—they
challenge it via mandamus and seek an emergency stay. But that distinction supports
the States, not Petitioners. After all, the mandamus standard is more difficult than
the standard for an ordinary appeal. To obtain mandamus relief, Petitioners must not
only show that their argument is legally correct, but also that (1) they have a “clear
and indisputable” right to the writ, (2) the Court is “satisfied that the writ is appro-
priate under the circumstances,” and (3) they have “no other adequate means to
attain [] relief.’” Cheney v. U.S. Dist. Court for D.C., 542 U.S. 367, 380-81 (2004).
    Petitioners cannot satisfy any of those requirements. Regarding the first, they
would not have standing to appeal, let alone a “clear and indisputable” right to seek

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emergency relief from this Court. See, e.g., United States v. U.S. Dist. Ct., S. Dist. of
Tex., 506 F.2d 383, 384 (5th Cir. 1974) (holding that “non-party” lacked standing to

petition for mandamus and, regardless, that such “extraordinary” relief was not war-
ranted). Such relief would also not be “appropriate under the circumstances” here
given, among other things, that it would circumvent this Court’s opinion from just

over a week ago. Moreover, it would further thwart the district court’s attempts to
expedite this litigation, which were stymied for weeks by Petitioners’ ill-advised ap-
peal. Even now, the district court has ordered—without objection from the federal

government—that its TRO and temporary stay will end in less than a month.
    As to the third requirement, because the federal government represents their
interests, Petitioners have other means to attain relief. To be sure, the States do not

believe the federal government can prevail because the States have standing and the
PIP program is unlawful. See, e.g., Texas v. United States, 86 F.Supp.3d 591, 669 n.101
(S.D. Tex. 2015), aff’d Texas v. United States (DAPA), 809 F.3d 134 (5th Cir. 2015),
aff’d by an equally divided court, 579 U.S. 547, 548 (2016) (per curiam); Texas v. Biden
(MPP), 20 F.4th 928, 997 (5th Cir. 2021), rev’d on other grounds, 597 U.S. 785 (2022);
see also Data Mktg. P’ship, LP v. U.S. Dep’t of Lab., 45 F.4th 846, 856 n.2 (5th Cir.
2022). For present purposes, however, it is enough that it is not Petitioners’ inability
to participate that prevents them from obtaining relief.

    B. The district court’s challenged order is plainly lawful.
    Petitioners, the federal government, and the States have already filed extensive
briefing in No. 24-40571 concerning the lawfulness of administrative stays. Petition-
ers recycle many of their same objections in their new pleadings—but their

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arguments have not improved. Just the opposite; their arguments are demonstrably
worse because the district court did not rely solely on its authority to issue adminis-

trative stays but instead issued a TRO and stay under 5 U.S.C. §705.
    1. Federal courts have inherent and statutory authority to issue short-term ad-
ministrative stays. For example, “the power to stay proceedings is incidental to the

power inherent in every court to control the disposition of the causes on its docket
with economy of time and effort for itself, for counsel, and for litigants.” Landis v.
N. Am. Co., 299 U.S. 248, 254 (1936). Such inherent authority, moreover, is aug-

mented by the All Writs Act, which creates “auxiliary” powers,” United States v.
N.Y. Tel. Co., 434 U.S. 159, 173 (1977), to issue “appropriate” orders “in aid” of
their jurisdiction, 28 U.S.C. §1651(a). Following the Supreme Court’s lead, this

Court has held that “[t]he federal courts are vested with inherent power to manage
their own affairs so as to achieve the orderly and expeditious disposition of cases.”
United States v. Colomb, 419 F.3d 292, 299 (5th Cir. 2005) (cleaned up).
    Thus, as Justice Barrett explained recently, an administrative stay flows natu-
rally from these two sources of authority. Texas, 144 S.Ct. at 798 & n.1. They are “an
exercise of [a court’s] docket-management authority” that “buys the court time to
deliberate” and “maintain the status quo.” Id. at 798 & n.2. And given the “short-
lived” nature of such stays, “there is no jurisprudence of administrative stays, much
less a one-size-fits-all test that courts apply before entering one,” id. at 799—a fact
that makes it exceptionally difficult for Petitioners to show that the district court
clearly and indisputably erred by entering one, see Cheney, 542 U.S. at 380-81. That
is natural: “Play in the joints seems appropriate for a measure that functions as a

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flexible, short-term tool.” Texas, 144 S.Ct. at 799. The Supreme Court itself “fre-
quently” use administrative stays for this purpose, as does this Court and its sister

courts. Id. at 798.
    The district court’s administrative stay here falls comfortably within this author-
ity. For one, it was a clear “exercise of” that court’s “docket-management author-

ity” designed to “freeze legal proceedings,” id., pending jurisdictional discovery.
Thus, the district court’s stay was on its face “necessary or appropriate in aid of” its
“jurisdiction[],” 28 U.S.C. §1651(a); see ROA.531, 736. For another, all the district

court did was maintain the status quo temporarily before the federal government
makes decisions that are difficult to unwind. See Texas, 144 S.Ct. at 798 & n.2. Accord
E.T. v. Paxton, 19 F.4th 760, 770 (5th Cir. 2021); Tex. All. for Retired Ams. v. Hughs,

976 F.3d 564, 568 (5th Cir. 2020); Veasey v. Abbott, 870 F.3d 387, 391-92 (5th Cir.
2017) (per curiam).
    2. The district court, however, did not simply rest its decision on its power to
order temporary administrative stays. Instead, it clearly—and repeatedly—ex-
plained that it was also issuing its orders under its statutory authority to enter TROs
and statutory stays under §705 of the APA. See, e.g., ROA.733, 734, 735, 736, 737;
Pet. Ex. 4 at 3. Indeed, to avoid any uncertainty, the court stated that “plaintiffs’
likelihood of success on the merits is substantial enough to justify a §705 stay and
temporary restraining order” and “[t]o be clear, defendants and their officers, agents,
servants, and employees are temporarily restrained and enjoined from issuing parole
under the challenged rule ….” ROA.736-37 (emphases added).



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    District courts regularly issue TROs. Under Federal Rule of Civil Procedure 65,
a district court may issue a TRO for 14 days, and for “good cause” may extend the

TRO so long as it provides “reasons for an extension.” Fed. R. Civ. P. 65(b)(2).
Here, the district court did just that. It has explained—clearly—that the States have
shown a sufficient likelihood of success on both standing and the merits to warrant

such temporary relief, especially given “the equities support preserving the status
quo for a short period.” ROA.734 (following, inter alia, Virginian Ry. Co. v. United
States, 272 U.S. 658 (1926)). After all, “plaintiffs’ claims are serious and substantial

enough to justify considering the irreparable harm and burdens of either withholding
or imposing a temporary stay.” ROA.735; see also ROA.529 (addressing “standing”
and the merits). Furthermore, the federal government sought “jurisdictional discov-

ery,” ROA.527, which the court ordered on a highly expedited schedule.
    Petitioners’ motion does not argue that was an inappropriate use of a TRO—
thus forfeiting any such objection—much less clearly and indisputably so, Cheney,
542 U.S. at 380-81. Regardless, even if Petitioners were a party, they could not suc-
cessfully challenge the district court’s eminently sensible case-management deci-
sion. See, e.g., Jones v. Belhaven Coll., 98 F.App’x 283, 284 (5th Cir. 2004) (“The
district court did not abuse its discretion extending the TRO as the court had the
inherent authority to preserve the status quo until the question of its jurisdiction
could be resolved.” (citing United States v. United Mine Workers of Am., 330 U.S.
258, 292–93 (1947); United States v. Hall, 472 F.2d 261, 265 (5th Cir. 1972)).
    Furthermore, the district court relied on its authority under §705 of the APA,
which empowers a “reviewing court” “to prevent irreparable injury” by “issu[ing]

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all necessary and appropriate process to postpone the effective date of an agency ac-
tion or to preserve status or rights pending conclusion of the review proceedings.”

5 U.S.C. §705; see also, e.g., ROA.736 (entering “a §705 stay and [TRO]”).
    Petitioners say remarkably little about the district court’s reliance on §705.
Given that this Court (and, indeed, the Supreme Court) has already upheld State

standing to challenge programs like the PIP program, see supra at 10, and that this
Court has held that DHS “cannot … parole aliens en masse,” MPP, 20 F.4th at 997,
there is no basis to say that the district court erred at all, much less so clearly that

mandamus is warranted.

    C. Petitioners’ counterarguments are meritless.
    Petitioners disagree with the district court’s discretionary exercise of its case-
management authority, but their counterarguments fail. Instead of addressing the
district court’s authority to issue administrative stays, for example, they claim that
the court effectively granted a preliminary injunction without following Rule 65 or
addressing the four traditional factors for issuing preliminary injunctions. See Mot.7.
Yet administrative stays would serve no purpose if they were treated the same as a
preliminary injunction. Their point is not to address the merits but instead to give a

court time to decide. See Texas, 144 S.Ct. at 798. Here, the district court reviewed
the States’ pleadings and request for injunctive relief and issued a temporary stay to
allow jurisdictional discovery and to give the court time to carefully resolve the issues

in this highly consequential case. ROA.529.
    Nor did the district court simply issue an administrative stay; it invoked its au-
thority to issue a TRO and a statutory stay under §705. Petitioners ignore that the

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district court exercised its power to enter a TRO under Rule 65, and they cite no
precedent addressing §705 at all.3 By itself, this means they have not shown that the

district court erred, much less so clearly as to warrant mandamus relief.
    Nor are Petitioners’ specific contentions better. They argue, for example, that
the district court should have resolved standing first. See, e.g., Mot.2. But the district

court considered the States’ “standing” when it concluded that they made a suffi-
cient showing to justify a temporary pause of the PIP program to allow the parties to
engage in “jurisdictional discovery.” ROA.529. Petitioners’ suggestion that the

court refused to consider jurisdiction—the flaw in In re Gee, 941 F.3d 153, 157 (5th
Cir. 2019)—thus disregards the record. Furthermore, when the district court de-
cides whether to grant a preliminary injunction, it will find facts respecting jurisdic-

tion. That is not yet required. See, e.g., Lujan v. Defs. of Wildlife, 504 U.S. 555, 561
(1992) (“At the pleading stage, general factual allegations of injury resulting from
the defendant’s conduct may suffice.”). Regardless, any alleged lack of standing
would not be an appealable issue in an interlocutory posture, see, e.g., Williams v.
Davis, No. 22-30181, 2023 WL 119452, at *2 (5th Cir. Jan. 6, 2023), and would not
satisfy the heightened standard for mandamus or emergency relief.
    Petitioners also say the district court did not apply the required factors for issu-
ing injunctive relief. See Mot.2. Again, however, that is demonstrably false—the



    3
      Cuomo v. U.S. Nuclear Regulatory Commission, 772 F.2d 972 (D.C. Cir. 1985),
does not mention § 705, let alone whether it allows a court, after concluding that
plaintiffs have sufficiently shown standing and likelihood of success on the merits, to
temporarily pause a program to allow jurisdictional discovery and full briefing.

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district court weighed the relevant factors and concluded that the States satisfied
their burden for a temporary pause of the PIP program. See, e.g., ROA.529. Petition-

ers’ failure to engage with that analysis again constitutes forfeiture and defeats man-
damus. In all events, even assuming the court erred (which, to be clear, it did not),
“a petitioner [still] ‘must show not only that the district court erred, but that it

clearly and indisputably erred.’” In re Beazley Ins. Co., No. 09-20005, 2009 WL
7361370, at *4 & n.26 (5th Cir. May 4, 2009) (quoting In re Avantel, S.A., 343 F.3d
311, 317 (5th Cir. 2003)). For the reasons already explained, Petitioners cannot do

so.

II. The Remaining Stay Factors Do Not Favor Petitioners.
      Because Petitioners’ mandamus petition is meritless, the Court should not grant
emergency relief. Regardless, Petitioners cannot satisfy the other requirements.
      First, Petitioners cannot show irreparable injury—much less that the district
court clearly abused its discretion by freezing some (not all) of the PIP program for a
short time while expedited proceedings occur. As the district court explained, the
PIP program only applies to individuals who “have been continuously present in this
country without admission or parole for ten years.” ROA.736 (emphasis added). Yet

Petitioners complain about waiting weeks. And they caused much of the delay they
complain about by filing an ill-considered appeal. After being in the United States
illegally for more than a decade, Petitioners cannot show irreparable harm from wait-

ing a short period so courts can determine whether this new program is lawful.
      Petitioners, moreover, have no standing to complain about harms to the federal
government. But see Mot.8-9. Not only does their argument ignore this Court’s

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affirmance of the district court’s denial of intervention (to say nothing of basic prin-
ciples of party presentation), but it is divorced from reality. The federal government

has not been shy about asserting its position in this litigation; indeed, it insisted that
it should receive oral argument time in No. 24-40571 despite not being a party to that
appeal. See No. 24-40571, ECF 108 at 3. Yet it has not challenged the district court’s

October 4 order and thus presumably is reviewing jurisdictional discovery and pre-
paring its briefing in advance of the scheduled hearing. In evaluating emergency re-
lief, the Court should not ignore that the federal government—an actual party and

the creator of the PIP program—does not object to the district court’s order.
    Second, the States will suffer significant harm. As the district court explained, it
can be challenging to unwind grants of parole to particular people. ROA.736. To be

the sure, the States do not agree that it would be impossible to do so, but it likely
would require additional litigation and—critically—time. Yet the States are injured
whenever individuals without a right to be within their borders use public benefits
even for a short period. See, e.g., DAPA, 809 F.3d at 155-62; accord Sprint Commc’ns
Co. v. APCC Servs., Inc., 554 U.S. 269, 289 (2008) (even a “a dollar or two” of injury
suffices to establish Article III standing). Because the United States enjoys sovereign
immunity, moreover, those harms are per se irreparable.
    Petitioners’ argument (at 10) that the States never requested such relief fails.
The States sought a TRO, stay, and a preliminary injunction the day they filed this
lawsuit. ROA.96-161. The district court granted an administrative stay, and then a
TRO and stay under §705, to prevent the very irreparable harm that the States iden-
tified in their pleadings. The district court entered a TRO and temporary stay on

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October 4 without additional briefing from the parties because it recognized, cor-
rectly, that a temporary freeze is necessary to prevent the States from suffering the

harm that prompted this lawsuit and that was the reason for the district court’s prior
TROs and stays. See Pet. Ex. 4 at 3.
    And third, the public interest does not support emergency relief. The public has

no interest in enforcement of an unlawful program, see, e.g., Shawnee Tribe v.
Mnuchin, 984 F.3d 94, 102 (D.C. Cir. 2021) (citation omitted), and “our system does
not permit agencies to act unlawfully even in pursuit of desirable ends,” Ala. Ass’n

of Realtors v. Dep’t of Health & Human Servs., 594 U.S. 758, 766 (2021). That is be-
cause national policy “is the responsibility of those chosen by the people through
democratic processes.” NFIB v. Dep’t of Lab., 595 U.S. 109, 120 (2022) (per cu-

riam). Here, moreover, the district court has not entered a preliminary injunction—
it just issued a TRO and short-term stay. A court’s power to enter such temporary
orders is essential to the responsible use of the judicial power, which plainly benefits
everyone. At the same time, the public suffers where, as here, non-parties attempt
to evade appellate decisions affirming denials of intervention.
    Given that law and equity overwhelmingly support the district court’s order, the
Court should deny this emergency motion. If the Court were to issue an administra-
tive stay, however, it should stay the entire PIP program while it considers Petition-
ers’ mandamus petition—just as it did with respect to Petitioners’ intervention ap-
peal. See No. 24-40571, ECF 68. The status quo is that the PIP program is not in
effect. The Court should not allow Petitioners to use an administrative stay to change
that status quo, especially because the States have consistently sought injunctive

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relief to prevent irreparable harm and the district court found that there is a “sub-
stantial” case for injunctive relief. ROA.529.

                                 Conclusion
    The Court should deny the emergency motion.

                                       Respectfully submitted.

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                      Certificate of Service
    On October 14, 2024, this response was served via CM/ECF on all registered
counsel and transmitted to the Clerk of the Court. Counsel further certifies that:
(1) any required privacy redactions have been made in compliance with Fifth Circuit

Rule 25.2.13; (2) the electronic submission is an exact copy of the paper document
in compliance with Fifth Circuit Rule 25.2.1; and (3) the document has been scanned
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                                      /s/ Aaron L. Nielson
                                      Aaron L. Nielson

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    This motion complies with: (1) the type-volume limitation of Federal Rule of
Appellate Procedure 27(d)(2)(A) because it contains 5,159 words, excluding the
parts of the motion exempted by rule; and (2) the typeface requirements of Rule
32(a)(5) and the type style requirements of Rule 32(a)(6) because it has been pre-
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                                      Aaron L. Nielson




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